Case 2:15-cv-08921-SVW-MRW Document 239 Filed 11/14/17 Page 1 of 11 Page ID #:4263

     1                      UNITED STATES DISTRICT COURT

     2                     CENTRAL DISTRICT OF CALIFORNIA

     3                              WESTERN DIVISION

     4

     5    THE HONORABLE STEPHEN V. WILSON, DISTRICT JUDGE PRESIDING

     6
          SECURITIES AND EXCHANGE           )
     7    COMMISSION,                       )
                                            )
     8                                      )
                      Plaintiffs,           )
     9                                      )
             vs.                            )      No.   CV 15-8921-SVW
   10                                       )
          JAMMIN JAVA CORPORATION, ET       )
   11     AL.,                              )
                                        )
   12              Defendants.          )
         _______________________________)
   13

   14

   15

   16                   REPORTER'S TRANSCRIPT OF PROCEEDINGS

   17                         LOS ANGELES, CALIFORNIA

   18                        MONDAY, SEPTEMBER 11, 2017

   19

   20

   21

   22    _____________________________________________________________

   23                       DEBORAH K. GACKLE, CSR, RPR
                              United States Courthouse
   24                      350 W. First Street, 4th Floor
                           Los Angeles, California 90012
   25                              (213) 894-8913


                   U.S. DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                                                             2
Case 2:15-cv-08921-SVW-MRW Document 239 Filed 11/14/17 Page 2 of 11 Page ID #:4264

     1   APPEARANCES OF COUNSEL:

     2

     3         For the Plaintiff:

     4

     5               Timothy S Leiman
                     US Securities and Exchange Commission
     6               175 West Jackson Boulevard Suite 900
                     Chicago, IL 60604
     7               312-353-5213
                     Fax: 312-353-7398
     8               Email: leimant@sec.gov

     9

   10          For the Defendants:

   11

   12                Margaret E Dayton
                     Scheper Kim and Harris LLP
   13                601 West Fifth Street 12th Floor
                     Los Angeles, CA 90071
   14                213-613-4655
                     Fax: 213-613-4656
   15                Email: pdayton@scheperkim.com

   16

   17                                     - - - -

   18

   19

   20

   21

   22

   23

   24

   25


                 U.S. DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                                                             3
Case 2:15-cv-08921-SVW-MRW Document 239 Filed 11/14/17 Page 3 of 11 Page ID #:4265

     1   LOS ANGELES, CALIFORNIA; MONDAY, SEPTEMBER 11, 2017; 1:35 P.M.

     2                                 - - - - -

     3

     4                THE CLERK:    Item 6, CV 15-8921-SVW, Securities and

     5   Exchange Commission versus Jammin Java Corporation, et al.

     6                Counsel, please state your appearance.

     7                MR. LEIMAN:    Good afternoon, Your Honor.    Tim Leiman

     8   for the Securities and Exchange Commission.

     9                MS. DAYTON:    Good afternoon, Your Honor.    Peggy

   10    Dayton on behalf of the defendant, Wayne Weaver.

   11                 THE COURT:    Okay.   And the parties have given the

   12    court their positions on this matter.

   13                 Is there something that you want to emphasize that

   14    hasn't already been emphasized?

   15                 MR. LEIMAN:    Not for --

   16                 THE COURT:    I understand the positions; I disagree

   17    with the defendant's interpretation of the Kodesh[sic] case,

   18    but -- all right.     Then I'll just take the matter --

   19                 MS. DAYTON:    Your Honor?

   20                 THE COURT:    Yes.

   21                 MS. DAYTON:    The defense would like to be heard to

   22    respond to the SEC's arguments in its reply, particularly

   23    regarding the Kokesh case.

   24                 THE COURT:    Okay.   Kokesh.   I think I said "Kodesh."

   25    Kokesh.


                   U.S. DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                                                             4
Case 2:15-cv-08921-SVW-MRW Document 239 Filed 11/14/17 Page 4 of 11 Page ID #:4266

     1               MS. DAYTON:     Your Honor, the Kokesh case holds that

     2   SEC disgorgement is a penalty, and a court cannot issue a

     3   penalty pursuant to its inherent equitable power.

     4               THE COURT:     I thought the case was more about statute

     5   of limitations.

     6               MS. DAYTON:     No, Your Honor, the SEC seeks to limit

     7   the --

     8               THE COURT:     But the language that you're taking from

     9   the case I thought was clear from the opinion that that wasn't

   10    the interpretation.       In other words, the court had a statute of

   11    limitations issue before it, and it didn't want the case to be

   12    interpreted I think as you are now.

   13                MS. DAYTON:     Respectfully, Your Honor, we disagree.

   14    If you look at the analysis of the Kokesh opinion, the court

   15    sets out the framework for what constitutes a penalty; and that

   16    framework about what constitutes a penalty is not limited to

   17    the context of 2462's statute of limitations.         For instance,

   18    when the court describes the principals that would lead you to

   19    conclude that something is a penalty, it refers to three cases.

   20    Two of those cases setting out general principles regarding

   21    what constitutes a penalty have no application to the statute

   22    of limitations context; they're broader cases describing

   23    broader legal principles about what does and does not

   24    constitute a penalty.       Although the court notes that it is

   25    making this assessment in the context of this statute of


                  U.S. DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                                                             5
Case 2:15-cv-08921-SVW-MRW Document 239 Filed 11/14/17 Page 5 of 11 Page ID #:4267

     1   limitations, were the court to make this assessment with regard

     2   to the ability to exercise inherent equitable authority, the

     3   result would be the same.       The rationale that previously

     4   permitted courts to order SEC disgorgement pursuant to the

     5   inherent equitable power, with that disgorgement was remedial

     6   relief that restored the status quo.       Kokesh directly overruled

     7   that finding by holding that disgorgement is not merely

     8   remedial relief that restores the status quo, it goes further,

     9   and it's punitive; and, therefore, the analysis can't be

   10    cabined to the statute of limitations context because the

   11    rationale that leads the court to the conclusion applies across

   12    the board, and it certainly applies to the court's equitable

   13    powers.

   14                 THE COURT:    Thank you.

   15                 Do you have something to add to your written

   16    analysis?

   17                 MR. LEIMAN:    Yes, Your Honor.

   18                 The Supreme Court specifically stated that parties

   19    should not read into its opinion the way the defendants do now.

   20    In footnote three it said, "Nothing in this opinion should be

   21    interpreted as an opinion on whether the court possessed the

   22    authority to order disgorgement" and specifically limited its

   23    opinion to the statute of limitations context.         It provided the

   24    road map.

   25                 And what the defendants asked the court to do is to


                   U.S. DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                                                             6
Case 2:15-cv-08921-SVW-MRW Document 239 Filed 11/14/17 Page 6 of 11 Page ID #:4268

     1   be the first in the entire country to interpret it as

     2   overruling implicitly Ninth Circuit precedent and the precedent

     3   throughout country, and the opinion doesn't support that.

     4               This is still an emerging opinion, but so far all of

     5   the courts that have construed Kokesh have refused to extend

     6   it.   For example, the Second Circuit in SEC versus Metter

     7   recently affirmed a disgorgement remedy even though it held its

     8   opinion until after Kokesh came down and even though it assumed

     9   that Kokesh meant that this was a penalty in the context of an

   10    excessive fines claim.     Other courts have also construed Kokesh

   11    as being limited to the statute of limitations context.          We

   12    cited in our brief SEC versus Brooks which decided that

   13    disgorgement was remedial outside of the statute of limitations

   14    context even though Kokesh said it was penal within the statute

   15    of limitations context.

   16                The only cases that are cited by the defendants

   17    express the question as to what the future holds, but so far

   18    there's nothing from either the Ninth Circuit, Ninth Circuit en

   19    banc, or the Supreme Court that would overrule existing

   20    precedent, including Platforms Wireless.

   21                The remedy is equitable, it's existed in this circuit

   22    for 30 years, and we believe the court has broad equitable

   23    authority --

   24                THE COURT:   All right.    I'll take the matter under

   25    submission.


                 U.S. DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                                                             7
Case 2:15-cv-08921-SVW-MRW Document 239 Filed 11/14/17 Page 7 of 11 Page ID #:4269

     1                MS. DAYTON:    Your Honor?

     2                THE COURT:    Yes.

     3                MS. DAYTON:    May I briefly respond?

     4                THE COURT:    Yes.

     5                MS. DAYTON:    With regard to footnote three, we

     6   believe that the SEC is misconstruing footnote three.          As

     7   counsel stated, footnote three says, "Nothing in this opinion

     8   should be interpreted as an opinion on whether courts possess

     9   authority to order disgorgement in SEC enforcement

   10    proceedings."

   11                 What we believe the Supreme Court is doing there is

   12    signaling that it understands that its holdings is undermining,

   13    basically completely undercutting court's ability to award

   14    disgorgement pursuant to their equitable power, but by defining

   15    a statute of limitations, the opinion could be interpreted as

   16    an implied endorsement that this remedy continues to be viable;

   17    and that's the result that the court is trying to avoid.            It's

   18    trying to avoid the opinion being construed as an endorsement

   19    that SEC disgorgement survives the opinion because it doesn't.

   20                 With respect to the cases that counsel points to in

   21    their papers, none of that authority addresses the question

   22    before this court, which is whether SEC disgorgement can be

   23    awarded pursuant to the court's inherent equitable powers after

   24    Kokesh.     In the Brooks case, in particular, although it says

   25    that the holding of Kokesh does not apply, the question


                   U.S. DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                                                             8
Case 2:15-cv-08921-SVW-MRW Document 239 Filed 11/14/17 Page 8 of 11 Page ID #:4270

     1   presented there was whether SEC disgorgement is remedial or

     2   penal for the purpose of survivability claims; and what's

     3   relevant here is that whether an action is remedial or penal

     4   for survivability purposes is a broader question than whether

     5   it is remedial or penal for purposes of the court's equitable

     6   powers.     Notably in the Brooks opinion, the court explains that

     7   civil sanctions qualify as remedial even when they constitute

     8   penalties or have punitive functions so long as they have a

     9   remedial purpose.     By contrast, the court cannot award civil

   10    sanctions that constitute penalties pursuant to its equitable

   11    powers.     So the Brooks case is not persuasive on the question

   12    before this court, which is construing how Kokesh impacts a

   13    court's equity power to order a penalty.

   14                 And then with regard to Ninth Circuit precedents,

   15    this court does not need to overrule Ninth Circuit precedents

   16    to decline to award disgorgement here.        The court has always

   17    had discretion.     There is no Ninth Circuit case that commands

   18    that this court order disgorgement in this matter; there is no

   19    necessary overruling of any Ninth Circuit case for the court to

   20    decline to do so here.

   21                 THE COURT:   All right.   Thank you.    That will stand

   22    submitted.

   23                   (Proceedings concluded at 1:55 p.m.)

   24                                 - - - - -

   25


                   U.S. DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
Case 2:15-cv-08921-SVW-MRW Document 239 Filed 11/14/17 Page 9 of 11 Page ID #:4271

     1                         C E R T I F I C A T E

     2

     3                I hereby certify that pursuant to Section 753,

     4   Title 18, United States Code, the foregoing is a true and

     5   correct transcript of the stenographically reported proceedings

     6   held in the above-entitled matter and that the transcript page

     7   format is in conformance with the regulations of the Judicial

     8   Conference of the United States.

     9

   10      Date:     November 17, 2017

   11

   12                          /S/______________________

   13                                 Deborah K. Gackle
                                         CSR No. 7106
   14

   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25


                   U.S. DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
Case  2:15-cv-08921-SVW-MRW
 {PLAINTIFF} v.             Document 239 Filed 11/14/17 Page 10 of 11 {WITNESSNAME}
                                                                      Page ID
 {DEFENDANT}                      #:4272                                      {DATE}

                        A                        C                    D                         fines [1] 6/10
                                                                                                first [2] 1/24 6/1
  MR. LEIMAN: [3] 3/6   ability [2] 5/2 7/13  CA [1] 2/13              Date [1] 9/10
  3/14 5/16                                                                                     Floor [2] 1/24 2/13
                        above [1] 9/6         cabined [1] 5/10         Dayton [2] 2/12 3/10
                                                                                                footnote [4] 5/20 7/5
  MS. DAYTON: [9] 3/8   above-entitled [1] 9/6CALIFORNIA [4] 1/2 DEBORAH [2] 1/23
                                                                                                 7/6 7/7
  3/18 3/20 3/25 4/5    across [1] 5/11        1/17 1/24 3/1            9/13
  4/12 6/25 7/2 7/4                                                                             foregoing [1] 9/4
                        action [1] 8/3        came [1] 6/8             decided [1] 6/12
                                                                                                format [1] 9/7
  THE CLERK: [1] 3/2    add [1] 5/15          can [1] 7/22             decline [2] 8/16 8/20
                                                                                                framework [2] 4/15
  THE COURT: [11]       addresses [1] 7/21    can't [1] 5/9            defendants [5] 1/12
                                                                                                 4/16
                        affirmed [1] 6/7      cannot [2] 4/2 8/9        2/10 5/19 5/25 6/16
 /                      after [2] 6/8 7/23    case [10]                defense [1] 3/21
                                                                                                functions [1] 8/8
 /S [1] 9/12                                                                                    further [1] 5/8
                        afternoon [2] 3/7 3/9 cases [5] 4/19 4/20      defining [1] 7/14
                                                                                                future [1] 6/17
                        al [2] 1/11 3/5        4/22 6/16 7/20          describes [1] 4/18
 1                      all [4] 3/18 6/4 6/24 CENTRAL [1] 1/2          describing [1] 4/22      G
 11 [2] 1/18 3/1         8/21                 certainly [1] 5/12       didn't [1] 4/11
 12th [1] 2/13                                                                                  GACKLE [2] 1/23 9/13
                        already [1] 3/14      certify [1] 9/3          directly [1] 5/6
 15-8921-SVW [2] 1/9 also [1] 6/10                                                              general [1] 4/20
                                              Chicago [1] 2/6          disagree [2] 3/16 4/13
  3/4                                                                                           given [1] 3/11
                        although [2] 4/24 7/24circuit [9] 6/2 6/6 6/18 discretion [1] 8/17
 17 [1] 9/10                                                                                    Good [2] 3/7 3/9
                        always [1] 8/16        6/18 6/21 8/14 8/15     disgorgement [14]
 175 [1] 2/6            analysis [3] 4/14 5/9  8/17 8/19               DISTRICT [3] 1/1 1/2     H
 18 [1] 9/4              5/16                 cited [2] 6/12 6/16       1/5                     had [2] 4/10 8/17
 1:35 [1] 3/1           ANGELES [4] 1/17      civil [2] 8/7 8/9        DIVISION [1] 1/3         Harris [1] 2/12
 1:55 [1] 8/23           1/24 2/13 3/1        claim [1] 6/10           do [4] 5/15 5/19 5/25    has [2] 6/22 8/16
                        any [1] 8/19          claims [1] 8/2            8/20
 2                      appearance [1] 3/6    clear [1] 4/9            does [4] 4/23 4/23
                                                                                                hasn't [1] 3/14
 2017 [3] 1/18 3/1 9/10 APPEARANCES [1]                                                         have [8] 3/11 4/21
                                              Code [1] 9/4              7/25 8/15               5/15 6/5 6/5 6/10 8/8
 213 [1] 1/25            2/1                  commands [1] 8/17        doesn't [2] 6/3 7/19
 213-613-4655 [1] 2/14 application [1] 4/21                                                     8/8
                                              COMMISSION [4] 1/7 doing [1] 7/11                 heard [1] 3/21
 213-613-4656 [1] 2/14 applies [2] 5/11 5/12   2/5 3/5 3/8
 2462's [1] 4/17                                                       E                        held [2] 6/7 9/6
                        apply [1] 7/25        completely [1] 7/13                               here [3] 8/3 8/16 8/20
                        are [2] 4/12 6/16     conclude [1] 4/19        either [1] 6/18
 3                                                                     Email [2] 2/8 2/15
                                                                                                hereby [1] 9/3
                        arguments [1] 3/22    concluded [1] 8/23                                holding [2] 5/7 7/25
 30 [1] 6/22            as [11]               conclusion [1] 5/11 emerging [1] 6/4
 312-353-5213 [1] 2/7 asked [1] 5/25                                                            holdings [1] 7/12
                                              Conference [1] 9/8       emphasize [1] 3/13
 312-353-7398 [1] 2/7 assessment [2] 4/25                                                       holds [2] 4/1 6/17
                                              conformance [1] 9/7 emphasized [1] 3/14           Honor [8] 3/7 3/9 3/19
 350 [1] 1/24            5/1                  constitute [3] 4/24 8/7 en [1] 6/18               4/1 4/6 4/13 5/17 7/1
 4                      assumed [1] 6/8        8/10                    endorsement [2] 7/16
                                                                                                HONORABLE [1] 1/5
                        at [2] 4/14 8/23      constitutes [3] 4/15      7/18
 4655 [1] 2/14                                                                                  how [1] 8/12
                        authority [5] 5/2 5/22 4/16 4/21               enforcement [1] 7/9
 4656 [1] 2/14           6/23 7/9 7/21        construed [3] 6/5 6/10 entire [1] 6/1             I
 4th [1] 1/24           avoid [2] 7/17 7/18    7/18                    entitled [1] 9/6         I'll [2] 3/18 6/24
 5                      award [3] 7/13 8/9    construing [1] 8/12      equitable [10]           If [1] 4/14
                         8/16                 context [9] 4/17 4/22 equity [1] 8/13             IL [1] 2/6
 5213 [1] 2/7                                                          et [2] 1/10 3/5
                        awarded [1] 7/23       4/25 5/10 5/23 6/9                               impacts [1] 8/12
 6                                             6/11 6/14 6/15          even [4] 6/7 6/8 6/14    implicitly [1] 6/2
                        B                     continues [1] 7/16        8/7
 601 [1] 2/13                                                                                   implied [1] 7/16
                        banc [1] 6/19         contrast [1] 8/9         example [1] 6/6          in [19]
 60604 [1] 2/6
                        basically [1] 7/13    CORPORATION [2]          excessive [1] 6/10       including [1] 6/20
 7                      because [2] 5/10 7/19 1/10 3/5                 EXCHANGE [4] 1/6         inherent [4] 4/3 5/2
                        behalf [1] 3/10       correct [1] 9/5           2/5 3/5 3/8              5/5 7/23
 7106 [1] 9/13
                        believe [3] 6/22 7/6  could [1] 7/15           exercise [1] 5/2         instance [1] 4/17
 7398 [1] 2/7
                        7/11                  counsel [4] 2/1 3/6      existed [1] 6/21         interpret [1] 6/1
 753 [1] 9/3
                        board [1] 5/12         7/7 7/20                existing [1] 6/19        interpretation [2] 3/17
 8                      Boulevard [1] 2/6     country [2] 6/1 6/3      explains [1] 8/6          4/10
 8913 [1] 1/25          brief [1] 6/12        court [24]               express [1] 6/17         interpreted [4] 4/12
 894-8913 [1] 1/25      briefly [1] 7/3       court's [5] 5/12 7/13 extend [1] 6/5               5/21 7/8 7/15
                        broad [1] 6/22         7/23 8/5 8/13                                    into [1] 5/19
 9                      broader [3] 4/22 4/23 Courthouse [1] 1/23 F                             issue [2] 4/2 4/11
 900 [1] 2/6            8/4                   courts [4] 5/4 6/5 6/10 far [2] 6/4 6/17          it [17]
 90012 [1] 1/24         Brooks [4] 6/12 7/24 7/8                       Fax [2] 2/7 2/14
                                                                                                it's [3] 5/9 6/21 7/17
 90071 [1] 2/13         8/6 8/11              CSR [2] 1/23 9/13        Fifth [1] 2/13
                                                                                                Item [1] 3/4
                                              CV [2] 1/9 3/4           finding [1] 5/7
                                                                                                its [7] 3/22 4/3 5/19


                             U.S. DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA                    (1) MR. LEIMAN: - its
Case  2:15-cv-08921-SVW-MRW
 {PLAINTIFF} v.             Document 239 Filed 11/14/17 Page 11 of 11 {WITNESSNAME}
                                                                      Page ID
 {DEFENDANT}                      #:4273                                      {DATE}

 I                          November [1] 9/10        pursuant [6] 4/3 5/4         sic [1] 3/17            until [1] 6/8
                                                     7/14 7/23 8/10 9/3           signaling [1] 7/12      US [1] 2/5
 its... [4] 5/22 6/7 7/12   O
  8/10                                                                            something [3] 3/13
                      Okay [2] 3/11 3/24             Q                             4/19 5/15              V
 J                    only [1] 6/16                  qualify [1] 8/7              specifically [2] 5/18 versus [3] 3/5 6/6
                      opinion [15]                   question [5] 6/17 7/21        5/22                    6/12
 Jackson [1] 2/6
                      order [5] 5/4 5/22 7/9         7/25 8/4 8/11                stand [1] 8/21          viable [1] 7/16
 JAMMIN [2] 1/10 3/5
                      8/13 8/18                      quo [2] 5/6 5/8              state [1] 3/6
 JAVA [2] 1/10 3/5                                                                                        W
                      other [2] 4/10 6/10                                         stated [2] 5/18 7/7
 JUDGE [1] 1/5                                       R
 Judicial [1] 9/7
                      our [1] 6/12                                                STATES [4] 1/1 1/23 want [2] 3/13 4/11
                      out [2] 4/15 4/20                rationale [2] 5/3 5/11      9/4 9/8                was [7] 4/4 4/9 5/5 6/9
 just [1] 3/18
                      outside [1] 6/13                 read [1] 5/19              status [2] 5/6 5/8       6/13 6/14 8/1
 K                    overrule [2] 6/19 8/15           recently [1] 6/7           statute [11]            way [1] 5/19
                      overruled [1] 5/6                refers [1] 4/19            stenographically [1] Wayne [1] 3/10
 Kim [1] 2/12
                                                       refused [1] 6/5                                    we [5] 4/13 6/11 6/22
 Kodesh [2] 3/17 3/24 overruling [2] 6/2                                           9/5
                      8/19                             regard [3] 5/1 7/5 8/14    STEPHEN [1] 1/5          7/5 7/11
 Kokesh [14]
                                                       regarding [2] 3/23         still [1] 6/4           Weaver [1] 3/10
 L                       P                              4/20                      Street [2] 1/24 2/13    West [2] 2/6 2/13
 language [1] 4/8        p.m [2] 3/1 8/23              regulations [1] 9/7        submission [1] 6/25 WESTERN [1] 1/3
 lead [1] 4/18           page [1] 9/6                  relevant [1] 8/3           submitted [1] 8/22      what [7] 4/15 4/16
 leads [1] 5/11          papers   [1]   7/21           relief [2] 5/6 5/8         Suite [1] 2/6            4/21 4/23 5/25 6/17
 legal [1] 4/23          particular   [1]    7/24      remedial [8] 5/5 5/8       support [1] 6/3          7/11
 Leiman [2] 2/5 3/7      particularly     [1]  3/22     6/13 8/1 8/3 8/5 8/7      Supreme [3] 5/18 6/19   what's  [1] 8/2
 leimant [1] 2/8         parties  [2]   3/11    5/18    8/9                        7/11                   whether [6] 5/21 7/8
 like [1] 3/21           pdayton    [1]    2/15        remedy    [3] 6/7 6/21     survivability [2] 8/2    7/22 8/1 8/3 8/4
 limit [1] 4/6           Peggy   [1]   3/9              7/16                       8/4                    which [3] 6/12 7/22
 limitations [11]        penal [4] 6/14 8/2 8/3 reply [1] 3/22                    survives [1] 7/19        8/12
 limited [3] 4/16 5/22   8/5                           reported [1] 9/5           SVW [2] 1/9 3/4         WILSON [1] 1/5
  6/11                   penalties   [2]    8/8  8/10  REPORTER'S [1] 1/16                                Wireless [1] 6/20
                         penalty [9] 4/2 4/3           respect [1] 7/20           T                       within [1] 6/14
 LLP [1] 2/12
 long [1] 8/8            4/15  4/16   4/19    4/21     Respectfully [1] 4/13      taking [1] 4/8          words [1] 4/10
 look [1] 4/14           4/24  6/9  8/13               respond [2] 3/22 7/3       Thank [2] 5/14 8/21     would [4] 3/21 4/18
 LOS [4] 1/17 1/24 2/13  permitted    [1]    5/4       restored [1] 5/6           that's [1] 7/17          5/3 6/19
  3/1                    persuasive      [1]   8/11    restores [1] 5/8           their [3]  3/12 7/14    written  [1] 5/15
                         Plaintiffs [1] 1/8            result [2] 5/3 7/17         7/21
 M                       Platforms [1] 6/20            right [3] 3/18 6/24        therefore [1] 5/9       Y
 make [1] 5/1            please [1] 3/6                 8/21                      think [2] 3/24 4/12     years [1] 6/22
 making [1] 4/25         points  [1]   7/20            road  [1] 5/24             this [15]
 map [1] 5/24            positions    [2]    3/12      RPR   [1]  1/23            those [1] 4/20
 Margaret [1]   2/12     3/16                                                     though [3] 6/7 6/8
                         possess [1] 7/8               S                           6/14
 matter [5] 3/12 3/18
  6/24 8/18 9/6          possessed [1] 5/21            said [3] 3/24 5/20 6/14    thought [2] 4/4 4/9
 May [1] 7/3             power   [4]   4/3   5/5  7/14 same [1] 5/3               three [5] 4/19 5/20 7/5
 meant [1] 6/9           8/13                          sanctions [2] 8/7 8/10      7/6 7/7
 merely [1] 5/7          powers    [4]   5/13   7/23   says [2] 7/7 7/24          throughout [1] 6/3
 Metter [1] 6/6          8/6 8/11                      Scheper [1] 2/12           Tim [1] 3/7
 misconstruing [1] 7/6   precedent     [3]    6/2 6/2  scheperkim.com [1]         Timothy [1] 2/5
 MONDAY [2] 1/18 3/1 6/20                               2/15                      Title [1] 9/4
                         precedents [2] 8/14 SEC [10]                             Title 18 [1] 9/4
 N                       8/15                          SEC's [1] 3/22             transcript [3] 1/16 9/5
 necessary [1] 8/19      presented [1] 8/1             sec.gov [1] 2/8             9/6
 need [1] 8/15           PRESIDING        [1]   1/5    Second [1] 6/6             trying [2] 7/17 7/18
 Ninth [7] 6/2 6/18 6/18 previously     [1]   5/3      Section [1] 9/3            Two [1] 4/20
  8/14 8/15 8/17 8/19    principals [1] 4/18           SECURITIES [4] 1/6
 none [1] 7/21           principles [2] 4/20            2/5 3/4 3/8               U
 not [8] 3/15 4/16 4/23  4/23                          seeks   [1] 4/6            under [1] 6/24
  5/7 5/19 7/25 8/11     proceedings        [4]  1/16  SEPTEMBER       [2] 1/18   undercutting [1] 7/13
  8/15                   7/10 8/23 9/5                  3/1                       undermining [1] 7/12
 Notably [1] 8/6         provided [1] 5/23             sets [1] 4/15              understand [1] 3/16
 notes [1] 4/24          punitive   [2]    5/9  8/8    setting [1] 4/20           understands [1] 7/12
 nothing [3] 5/20 6/18   purpose    [2]    8/2  8/9    should [3] 5/19 5/20       UNITED [4] 1/1 1/23
  7/7                    purposes [2] 8/4 8/5 7/8                                 9/4 9/8


                                 U.S. DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA                              (2) its... - years
